Case 1:22-cv-22189-JLK Document 1 Entered on FLSD Docket 07/15/2022 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                Case No.:

 ARNALDO L MARTIN,
 An Individual,

         Plaintiff,
 v.


 DORAL LINCOLN, LLC,
 A Florida Limited Liability Company

        Defendant.
 ______________________________/

                                    COMPLAINT AND DEMAND
                                       FOR JURY TRIAL

         Plaintiff, ARNALDO L MARTIN, brings this action against DORAL LINCOLN, LLC.,

 a Florida limited liability company, under the Consumer Leasing Act (“CLA”), 15 U.S.C. § 1667,

 and its implementing regulations, 12 C.F.R. § 1013 et seq. (“Regulation M”).

                                   JURISDICTION AND VENUE

         1.      The Court has federal question jurisdiction under 28 U.S.C. § 1331 because the

 claim arises from the CLA, a federal statute. 15 U.S.C. § 1667d(c).

         2.      Venue is proper before this Court because the acts and transactions giving rise to

 Plaintiff’s action occurred in this district, Plaintiff resides in this district, and Defendant transacts

 business in this district.

                                               PARTIES

         3.      Plaintiff is a natural person who at all relevant times resided in Miami-Dade County,

 Florida.



                                               Page 1 of 5
Case 1:22-cv-22189-JLK Document 1 Entered on FLSD Docket 07/15/2022 Page 2 of 5




          4.    Defendant is a Florida limited liability company with principal offices in Miami-

 Dade, FL.

                                  FACTUAL ALLEGATIONS

          5.    In October of 2018, Defendant leased a new 2019 LINCOLN NAUTILUS

 (“Vehicle”) to Plaintiff.

          6.    The Vehicle was leased under a Closed-End Vehicle Lease Agreement (“Lease”).

 A copy of the lease is attached as Exhibit A.

          7.    The Lease gave Plaintiff the option to buy the Vehicle at the end of the lease term

 for $23,723.75 “plus official fees and taxes, and a reasonable documentary fee if allowed by

 law….” Id. ¶ 10.

          8.    At the end of the lease term, Plaintiff contacted Lincoln Finance, which was

 assigned the Lease, and asked about the process to buy the Vehicle.

          9.    Lincoln directed Plaintiff to buy the Vehicle through Defendant.

          10.   In February 2022, Plaintiff visited Defendant to exercise the purchase option in the

 Lease.

          11.   To buy the Vehicle, Defendant charged Plaintiff a cash price of $24,820.35, which

 is $1,096.25 more than the purchase option price in the Lease.

          12.   Defendant would not sell the Vehicle unless Plaintiff paid the additional $1,096.25.

          13.   To buy the Vehicle, Defendant also charged Plaintiff a $898.50 “Predelivery

 Service Charge” and a $189.95 “Electronic Registration Filing Fee.”

          14.   Defendant also would not allow Plaintiff to buy the Vehicle without paying the

 above fees.

          15.   These charges were not included in the purchase option price and were never



                                             Page 2 of 5
Case 1:22-cv-22189-JLK Document 1 Entered on FLSD Docket 07/15/2022 Page 3 of 5




 disclosed in the Lease.

        16.       Defendant charged and collected more than $2,184.70 more than the purchase

 option price in the Lease.

               COUNT I AS TO DEFENDANT’S VIOLATION OF FEDERAL
                    CONSUMER LEASING ACT 15 U.S.C. § 1667a

        17.       The CLA governs the disclosures in the Lease because the lease term ran for 38

 months and was for less than $58,300. 15 U.S.C. § 1667(1).

        18.       Plaintiff is a natural person who leased the Vehicle primarily for personal, family,

 and household purposes. 15 U.S.C. § 1667(1)-(2).

        19.       Defendant had to comply with the CLA’s disclosure requirements because it was a

 “lessor” under the CLA.

        20.       Defendant is a large car dealership that has leased, offered, or arranged to lease

 vehicles more than five times in the preceding calendar year or more than five times in the current

 calendar year. 15 U.S.C. § 1667(3); Reg. M § 1013.2(h).

        21.       As described above, Defendant also had substantial involvement in the lease

 transaction with Plaintiff.

        22.       Upon information and belief, Defendant financially gains on the resale of the

 vehicle at the end of the Lease term.

        23.       The Lease is governed by the disclosure requirements of 15 U.S.C. § 1667a and 12

 C.F.R. § 1013.

        24.       The disclosure of the purchase option price in the Lease had to be accurate, clear,

 conspicuous, and complete. 12 CFR § 1013.3(a).

        25.       Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by choosing not to

 disclose in the purchase option price that payment of $2,184.70 in additional charges was required


                                               Page 3 of 5
Case 1:22-cv-22189-JLK Document 1 Entered on FLSD Docket 07/15/2022 Page 4 of 5




 to exercise the purchase option at the end of the Lease.

        26.     Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by choosing not to

 disclose in the purchase option price that payment of $2,184.70 in additional charges was required

 to exercise the purchase option at the end of the Lease.

        27.     Defendant violated 12 CFR § 1013.3(a) because the purchase option price was

 unclear, inaccurate, and incomplete.

        28.     These omissions were material to Plaintiff’s decision to enter into the Lease, and

 Plaintiff detrimentally relied on these material omissions.

        29.     Plaintiff suffered financial loss in that Plaintiff paid $2,184.70 in additional charges

 to buy the Vehicle.

        30.     Had Defendant provided a accurate, complete, and clear purchase option price in

 the Lease, which it was required to do, Plaintiff would have negotiated better terms or declined to

 lease the Vehicle.

        31.     Defendant’s illegal conduct was the actual and proximate cause of the actual

 damages suffered by Plaintiff.

        32.     Pursuant to 15 U.S.C. § 1640, Plaintiff is entitled to recover actual and statutory

 damages from Defendant, and reasonable attorney’s fees and costs.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff for relief and judgment against Defendant as follows:

        A.      Actual and Statutory Damages as provided by law;

        C.      Pre-judgment and post-judgment interest, as allowed by law;

        D.      Reasonable attorneys' fees and costs;

        E.       Injunctive relief requiring Defendant to honor its obligation under its Lease



                                              Page 4 of 5
Case 1:22-cv-22189-JLK Document 1 Entered on FLSD Docket 07/15/2022 Page 5 of 5




 agreements to sell the Leased vehicles for the price identified on the Lease agreement; and

        F.      Such other and further relief as is just and proper.

                                        JURY DEMAND

                Plaintiff hereby demands a trial by jury on all issues so triable.

                                               Respectfully submitted,

                                               /s/ Darren R. Newhart
                                               Darren R. Newhart, Esq.
                                               FL Bar No: 0115546
                                               E-mail: darren@newhartlegal.com
                                               NEWHART LEGAL, P.A.
                                               14611 Southern Blvd. # 1351
                                               Loxahatchee, FL 33470
                                               Telephone: (561) 331-1806
                                               Facsimile: (561) 473-2946

                                               JOSHUA FEYGIN, PLLC
                                               1800 E. Hallandale Bch. Blvd. #85293
                                               Hallandale, Florida 33009
                                               Tel: (954) 228-5674
                                               Fax: (954) 697-0357
                                               Email: Josh@JFeyginesq.com

                                               BY:         /s/
                                                       JOSHUA FEYGIN, ESQ.
                                                       FLORIDA BAR NO.: 124685




                                             Page 5 of 5
